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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-62422-CIV-COHN/SELTZER

  LEON FRENKEL, et al.,

        Plaintiffs,

  v.

  JOHN P. ACUNTO, et al.,

       Defendants.
  ________________________/

             ORDER ADOPTING REPORT AND RECOMMENDATION AND
            GRANTING MOTION TO ENFORCE SETTLEMENT AGREEMENT

        THIS CAUSE is before the Court on the Report and Recommendation [DE 156]

  (“Report”) of Magistrate Judge Barry S. Seltzer concerning Plaintiffs’ Motion to Enforce

  Settlement Agreement and Motion to Compel Release of Citibank Documents [DE 139]

  (“Motions”). No party filed objections to the Report by the deadline of September 9,

  2016. Nevertheless, the Court has carefully reviewed the Report and is otherwise fully

  advised in the premises.

        In this action to enforce an out-of-state judgment, the parties earlier entered into

  a Settlement Agreement (the “Agreement”). See DE 139-1. As pertinent here, the

  Agreement liquidated the amount Defendants owed to Plaintiffs; required defense

  counsel Jonathan Bloom to hold certain documents (the “Citibank documents”) in

  escrow and produce those documents to Plaintiffs’ counsel if Defendants breached the

  Agreement; and allowed the prevailing party in any enforcement action to recover

  attorney’s fees and costs. The Court approved and adopted the Agreement, retaining

  jurisdiction to enforce its terms. See DE 138 (Order of Dismissal Without Prejudice).
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         Defendants ultimately failed to pay the amount owed under the Agreement.

  And though Plaintiffs’ counsel demanded the Citibank documents, Bloom claimed he

  could not locate them. Based on these events, Plaintiffs filed their instant Motions.

         In the Report, Magistrate Judge Seltzer observed that it was “undisputed” that

  the parties had “entered into a valid Settlement Agreement” and that Defendants had

  “defaulted under that Settlement Agreement by non-payment of the amount due.”

  DE 156 at 3. Judge Seltzer thus determined that Plaintiffs were “entitled to all relief

  under the Settlement Agreement.” Id. at 4. Specifically, Judge Seltzer found that

  Plaintiffs were “entitled to re-commence collection efforts in this action to seek

  satisfaction of the Net Balance Due (as defined in Settlement Agreement ¶ 2).” Id.

  Because Defendants and Bloom breached their duties under the Agreement, Judge

  Seltzer also concluded that Plaintiffs should recover their attorney’s fees for enforcing

  the Agreement and that “Bloom be held responsible for that portion of fees directly

  related to his failure to safeguard and produce the Citibank documents.” Id. at 5.

         After a careful review, this Court agrees with Magistrate Judge Seltzer’s

  reasoning, conclusions, and recommendations. Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

  1.     The Magistrate Judge’s Report and Recommendation [DE 156] is ADOPTED;

  2.     Plaintiffs’ Motion to Enforce Settlement Agreement [DE 139] is GRANTED;

  3.     Defendants are found to be in default under the Settlement Agreement;

  4.     Plaintiffs may recommence post-judgment efforts to enforce the Net Balance

         Due in this action, as well as all relief available under the Settlement Agreement;

  5.     Plaintiffs’ Motion to Compel Release of Citibank Documents [DE 139] is

         DENIED AS MOOT; and

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  6.    Plaintiffs are awarded attorney’s fees totaling $7,507.50. Attorney Jonathan

        Bloom shall pay $1,705.00 in fees to Plaintiffs, and Defendants shall pay fees of

        $5,802.50 to Plaintiffs. These amounts shall be paid in full by no later than

        November 14, 2016.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, this 14th day of October, 2016.




  Copies provided to:

  Magistrate Judge Barry S. Seltzer

  Counsel of record




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